Case 6:24-cr-00201-GAP-UAM       Document 60      Filed 04/24/25   Page 1 of 10 PageID 208




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

  UNITED STATES OF AMERICA

        v.                                CASE NO. 6:24-cr-201-GAP-UAM

  HASHEM YOUNIS HASHEM HNAIHEN


                UNITED STATES’ SENTENCING MEMORANDUM

        During the summer of 2024, the defendant waged a campaign of terror

  throughout the Middle District of Florida. Under the cloak of night, he repeatedly

  attacked power stations and businesses, causing hundreds of thousands of dollars in

  damage. He left notes at the scene of each attack, threatening more violence if the

  President of the United States did not alter U.S. foreign policy and take specific

  actions in Gaza to meet his demands.

        These actions meet the textbook definition of a federal crime of terrorism—the

  defendant committed an enumerated offense of terrorism, and his offense was

  “calculated to influence or affect the conduct of government by intimidation or

  coercion, or to retaliate against government conduct.” 18 U.S.C. § 2332b(g)(5). For

  these reasons, as elaborated below, the defendant’s crimes involved and were

  intended to promote a federal crime of terrorism, and the Court should apply the

  terrorism enhancement under USSG. §3A1.4.
Case 6:24-cr-00201-GAP-UAM         Document 60      Filed 04/24/25     Page 2 of 10 PageID 209




     I.      FACTUAL BACKGROUND

          In the summer of 2024, over Memorial Day weekend, the defendant broke

  into a solar power generation facility (“solar farm”) in Wedgefield, Florida. (Doc.

  58, PSR ¶ 14). Once inside, after cutting through the chain link fence, he smashed

  the glass tops of several solar panels, cut the wires to several others, and took several

  rows of panels offline. Id.




                       (Example of solar panels with smashed glass panels)

  The defendant escaped without detection, and soon followed up with an escalating

  string of attacks.

          On June 17, 2024, the defendant traveled to a Starbucks in Daytona Beach

  Shores, and on June 25, 2024, he visited two more Starbucks in Orlando and Winter

  Park, Florida, and a McDonald’s in Maitland, Florida. Id. ¶¶ 11–12. He visited each


                                               2
Case 6:24-cr-00201-GAP-UAM       Document 60      Filed 04/24/25    Page 3 of 10 PageID 210




  location under the cover of night and concealed his face from security cameras. Id.

  At each location, he shattered the glass front doors, leaving behind threatening letters

  and notes accusing the businesses of supporting “genocide in Gaza.” Id.




                (Example of restaurant damage with notes taped to the window)

        At each of the three stores targeted on June 25, 2025, the defendant left behind

  “Warning Letters,” which were addressed to the United States government, listed a

  series of demands, and culminated in a threat to “destroy or explode everything here

  in whole America.” Id. ¶ 11. In full, the letters read:

                                   Warning Latter [sic]

               This is a message to PM Biden and his lying, fascist
               government.

               1. Stop supporting Israeli PM Netanyahu and his sadistic,
                  criminal government.
               2. Stop the genocide in Gaza now and forever.


                                             3
Case 6:24-cr-00201-GAP-UAM        Document 60      Filed 04/24/25    Page 4 of 10 PageID 211




                3. Bring humanitarian aid into Gaza immediately before
                   people die of hunger, thirst and disease.

                These are our demands, otherwise we will destroy or
                explode everything here in whole America. Especially the
                companies or factories that support the racist state of Israel.

                You trade in our democracy and use our money to ignite
                the wars and kill innocent people all over the world in
                order to steal their natural wealth such as oil, gold and
                many others, as happened in Afghanistan, Iraq,
                Lebia…………………..and it is currently happening in
                Gaza and Sudan.

                We know that our country “USA” is ruled by Zionism and
                International Freemasonry, but we will not remain silent
                about this unless we see change in Gaza and Sudan.

                The Free American people

         Four days later, as the responding police agencies were working to identify the

  attacker, the defendant returned to the same solar farm he had attacked the previous

  month. Id. ¶ 15. This time, the defendant spent several hours inside the solar farm,

  systematically and strategically cutting wires to dismantle the entire field of solar

  panels. Id.




                                              4
Case 6:24-cr-00201-GAP-UAM          Document 60        Filed 04/24/25     Page 5 of 10 PageID 212




                       (Aerial view of the solar field the defendant disabled)

  By his efforts, the defendant managed to permanently disable an entire field of solar

  panels and cause $459,386 in damages. Id. Before leaving, the defendant posted two

  identical copies of the Warning Letter outside each of the solar farm’s entrances.

  Id. ¶ 16.




              (Example of Warning Letter posted on gate leading into the solar farm)

                                                 5
Case 6:24-cr-00201-GAP-UAM         Document 60     Filed 04/24/25   Page 6 of 10 PageID 213




           The defendant’s attacks continued to escalate. On July 9, 2024, employees at

  an industrial propane distribution depot in Orlando, Florida, discovered yet another

  identical Warning Letter taped to an office window. Id. ¶ 17. The employees were

  forced to evacuate the facility and call in a fire department hazmat team to search for

  possible explosives. Id.

           Meanwhile, law enforcement investigators had identified the defendant. He

  had left fingerprints on some of the Warning Letters, he drove his distinctive work

  truck to each of the restaurant attacks, and his cell phone location data placed him at

  the scene of each attack. Id. ¶¶ 11, 16. On July 11, 2025, officers with the Orange

  County Sheriff’s Office arrested the defendant. Id. ¶ 19. During a post-arrest

  interview, the defendant denied knowing anything about the attacks or the letters.

  Inside the defendant’s truck, which he had been driving at the time of his arrest,

  officers found glass-breaking and wire-cutting tools and a stack of unused Warning

  Letters. Id.

     II.      SENTENCING GUIDELINES

           The defendant pleaded guilty to all five counts of the Indictment without a

  plea agreement. Counts One through Four of the Indictment charge the defendant

  with Threatened Use of an Explosive in violation of 18 U.S.C. § 844(e). (Doc. 1 at 1–

  2). Count Five charges the defendant with Destruction of an Energy Facility in

  violation of 18 U.S.C. § 1366(a). Id. at 3. The Final Presentence Report separates the

  five-count Indictment into three Count Groups. Count Groups 1 and 3 apply to the

  property damage and threatened used of explosives at the Starbucks and McDonalds
                                              6
Case 6:24-cr-00201-GAP-UAM       Document 60      Filed 04/24/25   Page 7 of 10 PageID 214




  locations respectively. PSR ¶¶ 25–26, 31–32. Count Group 1 carries an adjusted

  offense level of 14, and Count Group 3 carries an adjusted offense level of 12. Id.

  ¶¶ 30, 36.

        Count Group 2 applies to the threatened use of explosives and destruction of

  the solar farm in Wedgefield, Florida, and carries an adjusted offense level of 32. Id.

  ¶¶ 37–38, 42. Count Group 2’s scoring consists of a seven-point base offense level, a

  12-point enhancement for the $459,386 in damages, and a 13-point terrorism

  enhancement under USSG §3A1.4. Id. ¶¶ 37–40.

        The terrorism enhancement also raises the defendant’s criminal history

  category from I to VI. Id. ¶¶ 54–55. Crediting three offense levels for acceptance of

  responsibility, the defendant’s sentencing guidelines range is 151–188 months of

  imprisonment. Id. ¶ 83. The defendant’s sole objection to the PSR is the application

  of the terrorism enhancement. Id. at 25.

     III.      TERRORISM ENHANCEMENT

        USSG §3A1.4 applies “[i]f the offense is a felony that involved, or was

  intended to promote, a federal crime of terrorism.” A federal crime of terrorism is

  an offense which is both enumerated under 18 U.S.C. § 2332b(g)(5)(B) and “is

  calculated to influence or affect the conduct of government by intimidation or

  coercion, or to retaliate against government conduct.” 18 U.S.C. § 2332b(g)(5)(A);

  USSG §3A1.4 Application Note 1. The Eleventh Circuit has interpreted the word

  “calculated” to require proof that “the defendant’s offense was planned to influence,

  affect, or retaliate against government conduct, even if that was not the defendant’s
                                             7
Case 6:24-cr-00201-GAP-UAM       Document 60     Filed 04/24/25   Page 8 of 10 PageID 215




  personal motive.” United States v. Blanco, 102 F.4th 1153, 1166 (11th Cir. 2024)

  (quoting United States v. Ramirez, 16 F.4th 844, 854 (11th Cir. 2021)) (emphasis

  omitted). Courts may rely on direct or circumstantial evidence to support that intent

  requirement. Id.

        Count Five of the Indictment—Destruction of an Energy Facility—is an

  enumerated offense. 18 U.S.C. § 2332b(g)(5)(B)(i); (Doc. 1 at 3). And the defendant’s

  “Warning Letters” show the defendant committed the offense to influence, affect, or

  retaliate against government conduct.

        The defendant left two Warning Letters behind after destroying over $400,000

  of energy infrastructure on June 29, 2024. Each letter was explicitly addressed to the

  President of the United States and the United States government. Both letters

  demanded that the United States government take specific actions—stop supporting

  Israel, stop the war in Gaza, and bring humanitarian aid to Gaza. And the letters

  outlined consequences if the United States government failed to meet the defendant’s

  “demands”—the defendant would commit more acts of violence.

        Nor is there any question that the Warning Letters were connected to the solar

  farm attack: the defendant prominently posted a Warning Letter outside each of the

  solar farm’s entrances to ensure the United States government would receive his

  message. As the defendant himself admitted in the psychological evaluation he has

  provided to the Court, “I thought that statement will make them stop the war!” PSR

  at 24. In short, the June 29, 2024, solar farm attack and the campaign of Warning

  Letters were calculated to influence and affect the conduct of government by
                                             8
Case 6:24-cr-00201-GAP-UAM        Document 60     Filed 04/24/25     Page 9 of 10 PageID 216




  intimidation and coercion, and to retaliate against government conduct. Cf. Blanco,

  102 F.4th at 1166 (affirming application of terrorism enhancement to defendant who

  translated terrorist propaganda promoting acts of violence in countries “where the

  government and public sentiment is in support of the Israeli occupation of Palestine

  and the American invasion of Afghanistan and Iraq” (alteration adopted)).

     IV.    CONCLUSION

        Over the summer of 2024, the defendant carried out an escalating campaign of

  attacks, culminating in the destruction of an energy facility, a § 2332b(g)(5)(B)(i)

  enumerated offense. The defendant’s Warning Letters demonstrated that these

  attacks were calculated to influence or affect government conduct by intimidation or

  coercion. The defendant’s conduct merits the §3A1.4 terrorism enhancement.



                                           Respectfully submitted,

                                           GREGORY W. KEHOE
                                           United States Attorney


                                    By:    /s/ Richard Varadan_______________
                                           Richard Varadan
                                           Assistant United States Attorney
                                           Florida Bar No.: 1025743
                                           400 W. Washington Street, Suite 3100
                                           Orlando, Florida 32801
                                           Telephone: (407) 648-7500
                                           Facsimile: (407) 648-7643
                                           E-mail: Richard.Varadan@usdoj.gov




                                              9
Case 6:24-cr-00201-GAP-UAM        Document 60     Filed 04/24/25    Page 10 of 10 PageID 217




  U.S. v. Hashem Younis Hashem Hnaihen            Case No. 6:24-cr-201-GAP-UAM

                              CERTIFICATE OF SERVICE

         I hereby certify that on April 24, 2025, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of

  electronic filing to the following:

         Joshua R. Lukman, Esq.



                                           /s/ Richard Varadan_______________
                                           Richard Varadan
                                           Assistant United States Attorney
                                           Florida Bar No.: 1025743
                                           400 W. Washington Street, Suite 3100
                                           Orlando, Florida 32801
                                           Telephone: (407) 648-7500
                                           Facsimile: (407) 648-7643
                                           E-mail: Richard.Varadan@usdoj.gov




                                             10
